        Case 1:15-cv-07433-LAP Document 1026-1 Filed 01/30/20 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


VIRGINIA L. GIUFFRE,
        Plaintiff,
v.                                                                            No. 15-cv-07433-LAP
GHISLAINE MAXWELL,
        Defendant.


                     Order and Protocol for Unsealing Decided Motions
        The Court previously ruled that “only motions actually decided by Judge Sweet—along
with documents relevant to Judge Sweet’s decisions on those motions—are properly considered
judicial documents to which a presumption of public access attaches.” Order, dated Dec. 16,
2019 (DE 1016). Such materials are referred to herein as the “Sealed Materials” or “Sealed
Item.” The Sealed Materials will be enumerated in a List of Decided Motions designated by the
Court .1 In accordance with Brown v. Maxwell, 929 F.3d 41, 49-51 (2d Cir. 2019), the Court will
conduct an individualized review of each Sealed Item in the List of Decided Motions to
determine (a) the weight of presumption of public access that should be afforded to the
document, (b) the identification and weight of any countervailing interests supporting continued
sealing/redaction, and (c) whether the countervailing interests rebut the presumption of public
access. To assist in this process and afford persons identified or otherwise interested in the
Sealed Materials the opportunity to participate in the Court’s individualized review, the Court
adopts the following protocol.

        1. Non-Parties List: Plaintiff Virginia Giuffre and Defendant Ghislaine Maxwell
(collectively, the “Original Parties”) each have submitted under seal a list of non-parties whose
privacy, reputational or other interests may be implicated by the unsealing of the Sealed
Materials (each, a “Non-Party,” and collectively, the “Non-Parties”). Because the Original
Parties did not agree on one or more Non-Parties to be included in the list, the Court has resolved
all such disagreements and shall issue to the Original Parties a Court-approved Non-Parties List,
which shall be sealed. The Non-Parties shall include but are not limited to: (a) persons who
produced or answered discovery based upon the representation or understanding that the
discovery would be subject to the Protective Order previously issued in this action; (b) persons
who are identified as having allegedly engaged in sexual acts with Plaintiff, or other alleged
victims, or allegedly facilitated such acts; (c) persons whose intimate, sexual, or private conduct
is described in the Sealed Materials; and (d) persons who are alleged to have been victimized.



1
 The Original Parties have been unable to agree on a list of decided motions, as Defendant Maxwell excluded two
decided motions (Dkts. 468 & 567) from the list she previously submitted to the Court (Dkt. 1007-1).
       Case 1:15-cv-07433-LAP Document 1026-1 Filed 01/30/20 Page 2 of 4




The Non-Parties List will:

        Identify each Non-Party by his or her name, which correlates to a unique
         pseudonymous identifier, i.e., Doe #1, Doe #2, and Doe #3.

        Provide the address or contact information for each Non-Party or his or her legal
         counsel, which the Original Parties identified to the best of their ability.

       2. Judicial Adjudication: Because of the volume of Sealed Materials, the Court will
conduct an individualized review of the Sealed Materials sequentially, five motions at a time. For
the purpose of this Protocol, “motion” refers to each shaded Sealed Item in the List of Decided
Motions. For example, Doc. 14 and all unshaded Sealed Items listed below Doc.14, i.e.,
Docs. 15, 16, 16-1, 23, 24, 25, 26, 26-1, 29 and 30, constitute a “motion” for purposes of this
Order and Protocol. The following procedure shall be used for each set of motions reviewed by
the Court:

            a. The Court will notify the parties via minute order (“Notification”) of the set of
       five motions that will be decided. The Court will consider input from the Original Parties
       whether five motions, or a greater or lesser number of motions, is appropriate in light of
       the volume and complexity of the motions.

            b. As soon as practicable after the Notification the Original Parties shall confer and
       shall use their best efforts to cause each Non-Party to be served confidentially with a
       Non-Party Notice approved by the Court. “Best efforts” entails identifying the most
       current address available for the nonparty in a public records database. Service shall be
       effected via first class certified mail, return receipt requested. After service, the party
       causing the service shall file a certificate of service, stating the date of service and
       identifying the Non-Party by his or her pseudonymous identifier.

            c. Within 14 days of service of the Non-Party Notice, a Non-Party may submit to
       the Court a request for excerpts of the Sealed Materials pertaining to him or her (the
       “Excerpts”). The form request shall be approved by the Court and attached to the Non-
       Party Notice. The request shall be faxed or mailed to the Court and served upon counsel
       for the Original Parties. Upon receipt of the request, the Original Parties shall confer and
       cause the Excerpts to be served via U.S. mail promptly on the requesting Non-Party.

            d. Within 14 days of service of the Excerpts, the Non-Party may submit to the
       Court an objection to unsealing/unredacting (“Non-Party Objection”). A form Non-Party
       Objection, approved by the Court, shall be attached to the Non-Party Notice. The
       submission shall be served on the Original Parties. Within 14 days of service of any Non-
       Party Objection, the Original Parties may file a response; the response shall be served on
       the objecting Non-Party. The Court may, in its discretion, ask the objecting Non-Party to
       file a reply in support of his or her objection.
Case 1:15-cv-07433-LAP Document 1026-1 Filed 01/30/20 Page 3 of 4




      e. Within 14 days of service of any Non-Party Objection, any Original Party may
file an objection to unsealing/unredacting (“Party Objection”). Any response to the Party
Objection shall be filed within 14 days. The Court may, in its discretion, ask the objector
to file a reply in support of his or her objection.

     f. If within 14 days of the Notification no Non-Party has requested Excerpts, the
Parties shall have 14 days from the date on which the Non-Party’s time to object expires
to submit an objection to unsealing. Any response shall be filed within 14 days. The
Court may, in its discretion, ask the objector to file a reply in support of his or her
objection.

    g. The objection to a particular Sealed Item shall be succinct and shall state the
reasons for the objection and shall identify any countervailing interest, if applicable.

     h. If the Court determines that a factual issue exists as to a Sealed Item and that its
ruling requires resolution of that factual issue, it may order the Original Parties and
relevant Non-Parties to appear for an evidentiary hearing.

     i. After objections, responses and replies have been submitted, and any evidentiary
hearing held, the Court will enter a minute order setting the date and time it will decide in
open court the objections lodged as to each set of motions. Appearance by any of the
parties or Non-Parties is optional. The Court will determine whether each Sealed Item
shall be (1) unsealed in its entirety, (2) unsealed in redacted form, or (3) kept under seal.
Thereafter the Court will issue a Notification of the next set of five motions to be
decided.

3.   Non-Party Participation.

     a. Any Non-Party requesting Excerpts shall maintain them as confidential and shall
not disclose them to anyone other than, as applicable, to the lawyer representing him or
her in this proceeding. The requesting Non-Party may use the Excerpts only to decide
whether to object and to prepare his or her objection, if any, submitted to this Court.
A Non-Party’s request for the Excerpts constitutes acknowledgment of compliance with
this Court’s restrictions placed on the Excerpts and submission to this Court’s jurisdiction
for purposes of enforcement of the restrictions.

    b. A Non-Party who submits an objection submits to the Court’s jurisdiction for
purposes of the unsealing/unredaction proceeding.

     c.   A copy of this Order and Protocol shall be served with the Non-Party Notice.

     d. All submissions by Non-Parties to the Court shall be under seal. The Original
Parties served with Non-Party submissions shall not disclose them to anyone else.

     e.   The Court’s staff will receive Non-Party submissions, make appropriate
       Case 1:15-cv-07433-LAP Document 1026-1 Filed 01/30/20 Page 4 of 4




       redactions, e.g., the Non-Party’s identifying information (with the assistance of the
       Original Parties, as appropriate), substitute Non-Party pseudonymous identifiers as
       appropriate, redact the submission as appropriate, and file them as redacted via ECF,
       identifying the Non-Party solely by his or her pseudonymous identifier.

            f. A Non-Party’s participation in this protocol is optional. Appearances by Non-
       Parties and their counsel in this seal/unseal proceeding shall be considered limited and for
       the purposes set forth in this Order. Non-Parties are under no obligation to object and a
       Non-Party’s decision not to do so shall not be deemed consent to the unsealing of any
       Sealed Materials. The solicitation and receipt of objections from Non-Parties who wish to
       participate is intended merely to aid the Court in balancing privacy and other interests
       against the public’s right of access. The Court will conduct a particularized review of the
       sealed materials and weigh the competing interests regardless whether it receives any
       Non-Party Objection.

        4. Unless expressly stated otherwise, all notices, submissions, and filings made
pursuant to this Order shall remain permanently sealed inasmuch as they are submitted solely so
that the Court may decide whether any Sealed Materials should be unsealed. See Brown, 929
F.3d at 50 n.33.

       So ordered.

       Dated this ___ day of February 2020.



                                                 U.S. District Judge
